   Case: 3:22-cv-50188 Document #: 68 Filed: 08/26/22 Page 1 of 4 PageID #:159




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

IN RE: DEERE & COMPANY REPAIR                       )
SERVICES ANTITRUST LITIGATION                       )
                                                    )
                                                    ) CASE NO. 3:22-CV-50188
THIS DOCUMENT RELATES TO:                           )
ALL CASES                                           )
                                                    )


                PLAINTIFF BLAKE JOHNSON AND TRINITY WELLS’
            BRIEF IN SUPPORT OF PROPOSED LEADERSHIP STRUCTURE

       Pursuant to the Court’s instructions to the Parties during the August 26, 2022, telephonic

hearing, the undersigned submit this short statement in support of the Proposed Leadership

Structure (Doc. 66).

       Undersigned counsel, on behalf of the individual Plaintiffs they represent and the putative

class, and sub-classes as defined, support the Proposed Leadership Structure as filed on August

25, 2022.

       The lawyers and staff from the firms comprising the proposed Liaison, Facilitating, Co-

Lead Counsel positions have collectively spent hundreds of hours preparing and analyzing the

conduct which ultimately resulted in the initial complaint filed on January 12, 2022. The

Complaints filed after this date drew heavily on the work these firms performed. Hence, these

firms have the knowledge and experience in this area and are in the best position to lead this

litigation going forward.

       Further, it is clear that the Proposed Leadership Structure is the result of a thoughtful

approach which recognized both the skills sets necessary for effective litigation of this case and

the identification of lawyers best suited to fill those roles. The Proposed Leadership Structure
    Case: 3:22-cv-50188 Document #: 68 Filed: 08/26/22 Page 2 of 4 PageID #:160




 also represents the diversity, including geographical, necessary for accomplishing the tasks

 ahead.

          Finally, there are a number of lawyers in this case who have served as liaison, facilitating,

 or co-lead counsel in any number of complex class action and multi-district litigation cases. The

 undersigned have prosecuted scores of class action cases and have served in both lead and co-

 lead position in multiple MDLs. However, the undersigned, and most of the other lawyers in this

 case, recognize the expertise and work of the proposed Liaison, Facilitating, and Co-Lead

 Counsel in initiating this case and are willing to contribute in whatever way possible to litigate

 this matter at their direction to a successful conclusion.

       Based on the foregoing, undersigned respectfully request that this Court enter an Order

accepting the Proposed Leadership Structure as filed.

       Submitted this the 26th day of August, 2022.



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Case: 3:22-cv-50188 Document #: 68 Filed: 08/26/22 Page 3 of 4 PageID #:161




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    Case: 3:22-cv-50188 Document #: 68 Filed: 08/26/22 Page 4 of 4 PageID #:162




                               CERTIFICATE OF SERVICE

       I hereby certify that on this the 26th day of August, 2022, the foregoing was electronically filed

with the Clerk of the Court for the United States District Court for the Northern District of Illinois

which will electronically serve a copy of the foregoing upon all counsel of record.



                                               s/Eric J. Artrip
                                               Eric J. Artrip
